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                                                                   FILED
                                                        UNITED STATES DISTRICT COURT
                                                             DENVER, COLORADO
                                                                8:20 am, Dec 22, 2020

                                                         JEFFREY P. COLWELL, CLERK
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      D. Statement of Claims
      Claim One: ADA Failure to Accommodate, continued


      1.         Plaintiff hereby incorporates all paragraphs of this Complaint as though fully set

 forth herein.

      2.         At all times relevant to this action, Plaintiff Janine L. Gentile was a resident of

 and domiciled in the State of Colorado.

      3.         At all relevant times, Defendant Colorado State University was an institute of

 higher education with a principal office address of 555 S. Howes St., Fort Collins, CO 80521.

      4.         Colorado State University employs more than 500 employees within a 75-mile

 radius of its main office.

      5.         Plaintiff is an individual with a qualified disability under the ADA.

      6.         Plaintiff is an individual with a qualified disability under the Colorado Anti-

 Discrimination Act.

      7.         Ms. Gentile was employed full time by Colorado State University for over 19

 years, from May 2000 to October 11, 2019.

      8.         Ms. Gentile worked for at least 1,250 hours in each 2017 and 2018, and for the 12

 months leading up to the action.

      9.         Colorado State University is a covered employer under the ADA.

      10.        Colorado State University is a covered employer under the Colorado Anti-

 Discrimination Act.

      11.        Colorado State University is a covered employer under the FMLA.
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       12.      At all times, Ms. Gentile attempted to take as little protected medical leave as

  possible in order to recover.

          13. As of October 11, 2019, CSU had maintained over 500 employees on its payroll

  for each working day during each of 20 or more calendar workweeks in 2019 and 2018.

       14.      This Court has proper subject matter jurisdiction because Plaintiff’s ADA and

  FMLA claims arise under laws of the United States.

       15.      Venue is proper in this Court as all Defendants reside in this district, and all the

  events or omissions giving rise to the claims herein occurred in this district.

       16.      Ms. Gentile submitted an inquiry with the EEOC about the claims herein on

  01/28/2020.

       17.      Ms. Gentile’s Charge of Discrimination with the U.S. Equal Employment

  Opportunity Commission (“EEOC”) is dated February 05, 2020.

       18.      The Charge of Discrimination included allegations of disability discrimination

  and retaliation.

       19.      The EEOC issued Ms. Gentile a Notice of Right to Sue on September 23, 2020.

       20.      Ms. Gentile has filed this action within 90 days of the date the EEOC’s Notice of

  Suit Rights was issued.

       21.      In July 2015, Plaintiff Gentile applied for ADA disability status with CSU for

  major depression and anxiety.

       22.      10/15/2015, three months after application, Colorado State University designated

  Ms. Gentile as a person with a disability, as defined by the ADA, eligible to receive

  accommodations.
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       23.     Colorado State University (“CSU”) is an institution of higher education that

  provides education, research, and services.

       24.     CSU is comprised of several Colleges and each College is comprised of

  departments and each department may be comprised of supporting units.

       25.     Ms. Gentile worked within the CSU College of Veterinary Medicine and

  Biomedical Sciences (“CVMBS”) in the CVMBS College Office Department’s Information

  Technology Services (“IT”) unit.

       26.     The CSU Veterinary Teaching Hospital (“VTH”) is a revenue producing

  department within CVMBS that provides veterinary services to the general public.

       27.     CSU Veterinary Diagnostic Laboratories (“VDL”) is a revenue producing

  department within CVMBS that provides laboratory services to VTH, the general public, and

  government agencies.

       28.     CSU employs project managers, Information Technology managers, software

  developers, database administrators, faculty veterinarians, veterinary technicians,

  administrative support staff, faculty, researchers, software support staff, and other positions to

  provide its services.

       29.     Ms. Gentile’s employee classification at CSU was Administrative Professional for

  her entire employment history.

       30.     Ms. Gentile began her employment as an entry-level software developer in 2000.

       31.     Ms. Gentile completed her M.S. Computer Information Systems degree in 2000.

       32.     In 2004, Ms. Gentile’s employer promoted her to manage software developers.

       33.     In 2014, Ms. Gentile moved into a Project Manager position within the same unit

  and met the required qualifications for the position.
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       34.      The position of Project Manager was a full-time position.

       35.      At all times relevant to this action, Ms. Gentile held the Project Management

  Professional (PMP)® Credential (“PMP”) with the Project Management Institute.

       36.      The PMP is the industry-recognized certification for Project Managers and is an

  internationally recognized professional designation.

       37.      The CVMBS Project Manager responsibilities include but are not limited to:

             a. The Project Manager is responsible for planning and successfully implementing

                IT projects involving systems and system upgrades/improvements using

                contemporary project management strategies and methodologies.

             b. The IT projects may range from in-house software development to

                implementation of vendor-supplied systems.

             c. This position tracks requests that may become projects and coordinates the

                request disposition with IT Services managers.

             d. The Project Manager position also provides guidance on best practices and tools

                than can be applied more broadly in CVMBS, beyond IT Services projects, and

                may lead such projects as needs arise.

             e. Communicate in a timely, constructive manner at appropriate organizational

                levels, the project statuses and challenges.

             f. The Project Manager’s principal decision making includes:

                    i. Determine the stakeholders (e.g., internal and external team members,

                        upper management, vendors, users) and any information sources needed to

                        produce, maintain and complete a workable plan
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                    ii. Determine the types and frequency of communications necessary to

                       optimally keep stakeholders coordinated as project progresses.

                   iii. Determines the appropriate level of work breakdown detail and timeline

                       points, to define the project and track progress.

                   iv. Decides when escalation of issues is required.

                    v. Position is relied upon to recommend optimal paths of work to achieve

                       project goals.

       38.      During her employment, Ms. Gentile successfully led several projects for her

  employer in her role as Project Manager and in her previous role as manager of software

  development.

       39.      Ms. Gentile was chosen to be the Project Manager for CVMBS’ “StringSoft”

  project.

       40.      The StringSoft project would replace VTH’s electronic medical record system,

  billing system, laboratory information systems, paper forms, and scheduling system.

       41.      StringSoft was considered by many CVMBS managers and administrators to be

  one the largest software implementation projects that CVMBS had ever undertaken.

       42.      At all times relevant to this action, Ms. Gentile’s supervisor was George Joseph

  Strecker (“J. Strecker”).

       43.      At all times relevant to this action, J. Strecker’s job position was split between

  Manager of Research IT and Manager of IT Project Management.

       44.      At all times relevant to this action, J. Strecker did not hold a PMP credential.

       45.      As Ms. Gentile’s supervisor, J. Strecker had the authority to:

             a. direct her work;
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             b. evaluate her work performance;

             c. make determinations regarding reasonable accommodations, sick leave, and

                annual (personal) leave; and,

             d. recommend termination of employment

       46.      At all times relevant to this action, Jennifer Mayhew (“J. Mayhew”) was Assistant

  Director for Complaints and Disabilities with CSU’s Office of Equal Opportunity (“OEO”).

             a. Ms. Mayhew handled ADA disability processes and guidance for employees.

             b. Ms. Mayhew handled employee complaints against CSU.

       47.      At all times relevant to this action, Kacie Reed (“K. Reed”) was the Information

  Technology Director.

       48.      At all times relevant to this action, Kacie Reed (“K. Reed”) was J. Strecker’s

  supervisor.

       49.      K. Reed had the authority to:

             a. direct J. Strecker’s work;

             b. make determinations regarding reasonable accommodations, sick leave, and

                annual (personal) leave for any IT staff;

             c. recommend termination of employment for any IT staff;

             d. make decisions about IT’s budget and operations

       50.      At all times relevant to this action, Christy Conrad (“C. Conrad”) was the Human

  Resources Director for CVMBS.

       51.      At all times relevant to this action, C. Conrad provided guidance and assistance to

  J. Gentile, J. Strecker, and K. Reed in Ms. Gentile’s ADA reasonable accommodation process.
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       52.      At all times relevant to this action, C. Conrad had the authority to provide

  guidance and assistance to CVMBS staff on human resource processes, questions and

  concerns.

       53.      On 10/30/2015, Plaintiff met with J. Strecker and C. Conrad to discuss an ADA

  reasonable accommodation for a privacy divider for Ms. Gentile’s cube that would meet Kacie

  Reed’s requirement to make sure that other IT staff did not think Ms. Gentile was being

  provided with something that they were not.

       54.      Three months later, on 2/01/2016, Jennifer Mayhew (“J. Mayhew”) of CSU’s

  Office of Equal Opportunity (“OEO”) emailed Ms. Gentile stating that she would draft a

  document of the discussed reasonable accommodations to be reviewed and then formalized.

             a. Accommodations were implemented.

       55.      Symptoms of depression include but are not limited to:

             a. Feelings of sadness, tearfulness, emptiness or hopelessness

             b. Angry outbursts, irritability or frustration, even over small matters

             c. Loss of interest or pleasure in most or all normal activities, such as hobbies or

                sports

             d. Sleep disturbances, including insomnia or sleeping too much

             e. Tiredness and lack of energy, so even small tasks take extra effort

             f. Reduced appetite and weight loss or increased cravings for food and weight gain

             g. Anxiety, agitation or restlessness

             h. Slowed thinking, speaking or body movements

             i. Feelings of worthlessness or guilt, fixating on past failures or self-blame

             j. Trouble thinking, concentrating, making decisions and remembering things
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             k. Frequent or recurrent thoughts of death, suicidal thoughts, suicide attempts or

                suicide

             l. Unexplained physical problems, such as back pain or headaches

       56.      Symptoms of anxiety include but are not limited to:

             a. Feeling nervous, restless or tense

             b. Having a sense of impending danger, panic or doom

             c. Having an increased heart rate

             d. Breathing rapidly (hyperventilation)

             e. Sweating

             f. Trembling

             g. Feeling weak or tired

             h. Trouble concentrating or thinking about anything other than the present worry

             i. Having trouble sleeping

             j. Experiencing gastrointestinal (GI) problems

             k. Having difficulty controlling worry

             l. Having the urge to avoid things that trigger anxiety

       57.      On 09/30/2018, Ms. Gentile had a conversation with J. Strecker and explained

  that she was experiencing symptoms of her ADA covered disability that were impacting her

  ability to communicate project statuses and challenges in a constructive manner, which was an

  essential part of her job.

       58.      On 10/8/2018 Plaintiff met with Jennifer Mayhew of CSU OEO to discuss how

  symptoms of her disability conditions were impacting her ability to perform in her job and to

  seek guidance and options.
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         a. Ms. Gentile told J. Mayhew that she was experiencing increased symptoms of her

            ADA covered disability, such as trouble concentrating, fatigue, trouble staying on

            task, and trouble thinking on her feet during conversations.

         b. Ms. Gentile told J. Mayhew that symptoms of her disability were impacting her

            ability to successfully perform some job functions.

         c. Ms. Gentile told J. Mayhew that she was concerned she might lose her job as

            result of the concerns herein.

         d. Ms. Gentile cried while speaking with J. Mayhew about the concerns herein.

         e. Ms. Gentile told J. Mayhew provided examples of how her disability symptoms

            were exacerbated by the concerns herein, perpetuating the difficulty in

            successfully performing duties of her job.

         f. Ms. Gentile asked J. Mayhew about the process for moving into a different

            position at CSU in case she could not continue to perform as Project Manager at

            CVMBS.

         g. J. Mayhew explained to Ms. Gentile that a disability accommodation is meant to

            put a person in a position to perform the essential functions of the job; a level

            playing field.

         h. J. Mayhew told Ms. Gentile that all possible accommodations would be tried first

            and then if performance was not adequate, they could then look at other job

            options across the University.

         i. J. Mayhew suggested that Ms. Gentile investigate and try other ADA reasonable

            accommodations.
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             j. J. Mayhew said that a work from home accommodation could be a possible option

                for reasonable accommodation.

             k. J. Mayhew suggested that Ms. Gentile visit the askjan.org website for examples of

                disability accommodations.

       59.      According to the askjan.org website, under ‘Our Mission’, “The Job

  Accommodation Network (JAN) is the leading source of free, expert, and confidential

  guidance on workplace accommodations and disability employment issues.”

       60.      On 11/15/2018, Plaintiff emailed J. Mayhew exchanged emails about ideas for a

  work from home accommodation.

       61.      On 11/26/2018, Ms. Gentile emailed J. Mayhew a formal request for a work from

  home accommodation, asking for a fixed part-time work from home schedule of 4 days per

  week starting at 2pm each day, and to work from home as an accommodation on an ad hoc

  basis on days that she is unable to come to the office due to her disability symptoms but is able

  to work.

       62.      About 2 months after the initial request for reasonable accommodation, on

  1/23/2019, J. Mayhew emailed Ms. Gentile to schedule a meeting to begin the interactive

  process with her for the accommodation.

       63.      On 2/1/19, Ms. Gentile had a phone call with J. Mayhew to begin the interactive

  process.

             a. Ms. Mayhew said she talked to J. Strecker about my request to work from home

                four days/week starting at 2pm.

             b. Ms. Mayhew said J. Strecker had concerns about interference with meetings but

                indicated no concerns with my work ethic.
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             c. She said J. Strecker suggested two days/week from 2-5PM with flexibility for ad

                hoc use.

             d. She said J. Strecker would still need to have it approved by his supervisor, K.

                Reed, but that he thought she would be amenable.

             e. I agreed to J. Strecker’s revision to my original accommodation request.

       64.      About another month later without action by CSU on my request, I sent an email

  to J. Mayhew on 3/04/2019 asking about progress on my request for reasonable

  accommodation.

       65.      J. Mayhew responded to my email on 3/06/2019 stating that:

             a. she was delayed in reaching back out to J. Strecker after her 2/01/2019 phone call

                with Ms. Gentile;

             b. she had now conveyed to J. Strecker what she and Ms. Gentile discussed on

                2/01/2019.

       66.      On 3/29/2019, I contacted J. Mayhew to let her know that I had just found out that

  I was going to be laid off in the August-September timeframe..

             a. Reasonable accommodation had not yet been provided when I contacted J.

                Mayhew on 3/29/2019.

       67.      About 5 months after initiating my request for reasonable accommodation, and

  about 2 ½ months after my only involvement in the interactive process thus far, and about 2

  weeks after finding out I would be laid off, on 4/12/2019, I met with Ms. Mayhew to discuss J.

  Strecker’s response to the accommodation request.

             a. Ms. Mayhew said that J. Strecker responded as follows regarding my

                accommodation request:
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            b. J. Strecker’s supervisor, K. Reed, thought that working from home two afternoons

               of 3 hours each was ‘too much’.

            c. K. Reed proposed that I work from home each Monday from 11am-5pm, which

               would still give me six hours per week.

            d. I could notify J. Strecker to work from home on an as needed basis.

            e. J. Mayhew said that there would be an 8-week trial period after which we would

               follow up.

            f. I agreed with the proposed accommodation.

      68.      On 4/16/2019, J. Mayhew emailed Ms. Gentile with revisions to the

  accommodation terms that had been discussed on 4/12/2019.

            a. Ms. Mayhew said that she followed up with J. Strecker after she and I met on

               4/12/2019 and he proposed the following:

            b. I could start the work from home on Mondays 11-5 beginning April 22, 2019.

            c. The trial period would run through the end of June.

            d. From July into August, a definitive 11am-5pm on Mondays may not be an option.

            e. August 5th would not be a work from home opportunity.

            f. Ms. Mayhew said that we could schedule an interactive process meeting close to

               the end of June to discuss what accommodations might look like for July and

               August.

            g. Ms. Mayhew said if this is was acceptable, she would work on getting draft

               accommodations together.

            h. Ms. Gentile agreed to the proposed accommodation via email on 4/16/2019.
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       69.      No follow up occurred after the trial period and no interactive process meeting

  occurred to discuss accommodations for July and August.

       70.      On multiple occasions prior to Ms. Gentile’s request for reasonable

  accommodation, Ms. Gentile talked to J. Strecker in detail about how she was struggling to

  perform some of her job duties due symptoms of her ADA covered disability.

       71.      On multiple occasions after Ms. Gentile’s request for reasonable accommodation,

  Ms. Gentile talked J. Strecker in detail about how she was struggling to some of her perform

  her job duties due to symptoms of her ADA covered disability.

       72.      In Fall 2018, Ms. Gentile had multiple conversations with C. Conrad to discuss

  how symptoms of her disability conditions were impacting her ability to perform in her job

  and to seek guidance and options.

             a. Ms. Gentile told C. Conrad that she was experiencing symptoms of her ADA

                covered disability, such as trouble concentrating, fatigue, trouble staying on task,

                and trouble thinking on her feet during conversations, that were impacting her

                ability to successfully perform essential job functions.

             b. Ms. Gentile shared with C. Conrad that she sometimes took a break to sleep in her

                car in the parking lot due to uncontrollable fatigue during the workday and it took

                too much time to go home for the break.

             c. Ms. Gentile cried while speaking with C. Conrad about the concerns herein.

             d. Ms. Gentile provided examples to C. Conrad of how her disability symptoms

                were exacerbated by the concerns herein and thus they perpetuated her difficulty

                in successfully performing duties of her job.
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             e. Ms. Gentile and C. Conrad talked about options such as taking extended leave or

                looking at other job positions.

       73.      On 2/11/19, Plaintiff had a phone call with Jackie Swaro, CSU Human Resources

  Benefits Administrator Team Lead (“J. Swaro”) to ask questions about extended leave and

  short-term disability processes.

             a. Plaintiff told J. Swaro that she was finding it increasingly difficult to perform her

                job due to her disability symptoms.

             b. Plaintiff asked J. Swaro questions about the leave and short-term disability

                processes.

       74.      On 2/19/2019, Plaintiff told her supervisor, J. Strecker, that she was considering

  taking extended time off due to her disability symptoms and having difficulty performing in

  her job due to those symptoms.

             a. Ms. Gentile told J. Strecker that she could see losing her job right now because

                she was having difficulty functioning at work and successfully performing

                essential functions of her job due to her disability.

             b. Ms. Gentile told J. Strecker that she often had to work extended hours and stay up

                late to get her work done in order to make up for sick days as well as her inability

                to focus during the workday, both due to her disability.

             c. Ms. Gentile told J. Strecker that it was a vicious cycle of working extended hours

                and staying up late to get her work done, which caused stress and exhaustion,

                causing her to miss more work and get behind on tasks, and having to work

                extended hours to make up for the work, and that the vicious cycle impacted her

                ability to successfully perform in her job.
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             d. Ms. Gentile provided J. Strecker with other examples of how her disability

                symptoms were exacerbated by the concerns herein and thus perpetuated her

                difficulty in successfully performing duties of her job.

             e. Ms. Gentile told J. Strecker of the possibility that, because of her disability

                symptoms worsening, she might need to take extended leave.

       75.      A State of Colorado Flexplace Agreement is the document used by Ms. Gentile’s

  employer for employees to request and get approval to work from home.

       76.      A State of Colorado Flexplace Agreement describes Flexplace as an alternate

  method of meeting the needs of the Employer and Employee by allowing the employee to

  work away from the regular office.

       77.      At all times relevant to this action, a State of Colorado Flexplace Agreement was

  implemented via a form that was signed by the employee, the employee’s supervisor, and the

  appointing authority.

       78.      For many years prior and at all times relevant to this action, several other IT

  employees and CVMBS employees exercised use of the State of Colorado Flexplace

  Participation Agreement to work from home.

       79.      At all times relevant to this action, several CVMBS staff who, in addition to Ms.

  Gentile, were critical to the StringSoft project, exercised use of the State of Colorado

  Flexplace Participation Agreement to work from home.

       80.      In Ms. Gentile’s previous job role in CVMBS, she implemented Flexplace

  Agreements for her employees and found the Flexplace process to be complete in less than a

  week.
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       81.     At all times relevant to this action, it was a regular occurrence for CVMBS staff

  and vendors to attend StringSoft project meetings and other work meetings remotely.

       82.     At all times relevant to this action, adequate technology was available to host and

  attend meetings remotely.

       83.     Ms. Gentile had worked from home successfully and productively many times

  prior to the 11/26/2018 request for reasonable accommodation.

       84.     Providing a Flexplace work from home accommodation to Ms. Gentile was not

  unreasonable and did not pose an undue burden on CSU.

       85.     The EEOC’s guidance document,” Enforcement Guidance on Reasonable

  Accommodation and Undue Hardship under the ADA”, states the following: “An employer

  should respond expeditiously to a request for reasonable accommodation. If the employer and

  the individual with a disability need to engage in an interactive process, this too should

  proceed as quickly as possible. Similarly, the employer should act promptly to provide the

  reasonable accommodation. Unnecessary delays can result in a violation of the ADA.”

       86.     CSU did not make a good faith effort to provide reasonable accommodation to the

  Plaintiff.

       87.     Despite telling OEO, CVMBS HR, CSU HR, and my supervisor on multiple

  occasions from September 2018 to April 2019 that I was having difficulty performing essential

  functions of my job due to symptoms of my ADA covered disability, describing symptoms

  that could be alleviated with the requested reasonable accommodation, and sharing the severity

  of the problem, it still took about five months for the request for the reasonable

  accommodation to be implemented.
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       88.     From November 26, 2018 to 4/21/2019, CSU discriminated against Ms. Gentile

  by failing to accommodate Ms. Gentile’s request for reasonable accommodation.

       89.     CSU took about five months to implement a request for reasonable

  accommodation, where this type of Flexplace Agreement had historically been implemented

  by her employer in less than a week for employees not covered under ADA.

       90.     CSU discriminated against Ms. Gentile by not responding expeditiously to Ms.

  Gentile’s request for reasonable accommodation.

       91.     CSU discriminated against Ms. Gentile by not engaging in the interactive process

  as quickly as possible.

       92.     CSU discriminated against Ms. Gentile by not acting promptly to provide the

  reasonable accommodation.

       93.     CSU discriminated against Ms. Gentile by creating unnecessary delays in the

  process for reasonable accommodation.

       94.     CSU discriminated against Ms. Gentile by avoiding the reasonable

  accommodation process.

       95.     At all times relevant to this action, J. Strecker’s office was an estimated 10 feet

  from K. Reed’s office.

       96.     At the time of her 11/26/2018 request for reasonable accommodation, Ms. Gentile

  was qualified for her position and successfully performed the essential functions of her job.

       97.     Ms. Gentile could have continued to perform the essential functions of her job

  with reasonable accommodation.
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       98.      When working from home for several hours a week, Ms. Gentile experienced

  improved performance, productivity, stress levels, and overall health that allowed her to

  successfully perform the essential functions of her job, including but not limited to:

             a. less distractions and interruptions improved her focus and concentration and

                allowed her to take tasks to completion more quickly;

             b. the ability to have uninterrupted work time to dedicate larger contiguous chunks

                of time helped her to plan and prioritize, and to finish complex, involved work

                items;

             c. the ability to have periods of mental rest without interruption or stimulus in order

                to refocus and reorient her work helped to reduce overall anxiety and increase

                productivity;

             d. decreased stress and increased positivity from a better work-life balance since she

                was able to be in her home sometimes when her daughter got home from school;

             e. the ability to take medications more consistently at home because they required

                food and she often didn’t have time to eat when she was at work.

       99.      After the reasonable accommodation was implemented, Ms. Gentile had a regular

  weekly meeting with J. Strecker on 4/30/2019, where he complimented her for holding a

  superb meeting that day and said things in the project were going as well as they could.

       100.     After the reasonable accommodation was implemented, Ms. Gentile had a regular

  weekly meeting with J. Strecker on 5/14/2019, where he said, “Thanks for being aware of all

  these (StringSoft project) things”, “It’s a lot going on”, said he was seeing her doing great

  work, and said, “Thank you. This is working, as crazy as the whole thing is, it’s working.”
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       101.   On 6/18/2019, about 8 weeks after Ms. Gentile’s accommodation was

  implemented, J. Strecker told Ms. Gentile that she had a good work ethic and he sincerely

  appreciated her ability to generate momentum and progress in keeping the StringSoft project

  moving forward and that this was admirable with the distraction of the layoff.

       102.   In Fall 2018, Ms. Gentile began therapy for her covered disability conditions with

  a licensed counselor. The content of the sessions included but was not limited to:

           a. Ms. Gentile sharing that she lost confidence and self-esteem because of being

              negatively perceived at work because of her disability.

           b. Ms. Gentile sharing that she lost confidence and self-esteem because of being

              negatively treated at work because of her disability.

           c. Ms. Gentile sharing fears of losing her job because of her disability.

           d. Ms. Gentile sharing that her work situation was making symptoms of her ADA

              covered disability much worse and causing additional symptoms that she had not

              been experiencing prior to the CSU actions herein.

       103.   At CSU CVMBS, an Administrative Professional employee performance

  evaluation score of 3 means 'Meeting All Expectations' and a score of 4 means 'Exceeding

  Most/several Expectations (emerging leader)'.

       104.   On 3/1/2019 Plaintiff and J. Strecker met for her annual performance evaluation.

           a. J. Strecker prefaced the conversation by telling Ms. Gentile that this was not a

              corrective action.

           b. Ms. Gentile’s performance evaluation score decreased substantially from the prior

              year; the score decreased from 3.78 to 2.94.
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          c. Ms. Gentile’s performance evaluation score of 2.94 fell below ‘Meeting All

              Expectations’.

          d. J. Strecker’s written evaluation feedback cited essential functions of the job that

              were not being met and stated that she would achieve major success and

              demonstrate her full range of capabilities if she addressed those.

          e. J. Strecker’s written evaluation feedback said that Ms. Gentile was encouraged to

              actively seek out any resources.

       105.   About 3 ½ months prior to Ms. Gentile’s 3/01/2019 poor performance evaluation,

  Ms. Gentile requested the reasonable accommodation to put her in a position to successfully

  perform the essential functions of her job, and the accommodation had still not been

  implemented at the time of her performance evaluation.

       106.   After Ms. Gentile’s 3/01/2019 poor performance evaluation, it still took almost 2

  months before the accommodation was implemented, despite J. Strecker’s evaluation feedback

  encouraging Ms. Gentile to seek resources.

       107.   On 3/29/2019, Plaintiff was called to a meeting with Jon Stocking (“J. Stocking”),

  Senior Director of CVMBS Operations, K. Reed, and J. Strecker.

          a. Ms. Gentile was told that she would likely be laid off.

          b. J. Stocking estimated that Ms. Gentile’s employment would end “Once StringSoft

              is implemented in August timeframe, so around September.”

          c. J. Stocking said that he had talked to Mark Stetter, Dean of CVMBS, and Thom

              Hadley, CVMBS Executive Director of Operations, and they agreed that this is

              the way they have to go.
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           d. J. Stocking said that the process of formalizing the layoff included acceptance by

               Tony Frank, President of CSU at the time of the 3/29/2019 meeting, and then

               sending it through General Counsel and CSU.

           e. J. Stocking told Ms. Gentile that there were two entry-level software developer

               positions coming up elsewhere in the University, in Information Systems (“IS”).

           f. J. Stocking said that the salary of the IS software developer positions would be

               lower than Ms. Gentile’s current salary and suggested asking IS if they would be

               willing to combine the two positions into one position at a higher salary.

           g. Ms. Gentile responded that she did not think she was currently qualified for the IS

               software developer positions because she had not done computer programming in

               about 11 years.

       108.    Ms. Gentile was told that her employment with CSU would end approximately

  five weeks after she told J. Strecker that she might take extended leave to alleviate her

  disability symptoms.

       109.    Ms. Gentile was told that her employment would end just 28 days after she

  received J. Swaro’s email saying that she was approved to use up to 14 days per month of

  unscheduled leave under FMLA.

       110.    CSU job postings for the IS software developer positions showed their salaries at

  less than 60% of Ms. Gentile’s salary at that time, yet on 3/29/2019 her employer suggested

  she consider these positions.

       111.    The IS software developer positions suggested to Ms. Gentile by her employer on

  3/29/2019 would have been a demotion for Ms. Gentile because she was hired into an entry-
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  level software development position at CSU 19 years prior and had since been promoted to

  management positions, and also because the salary was substantially lower.

       112.    Ms. Gentile requested reasonable accommodation on 11/26/2018 and it took

  about five months for implementation.

       113.    Ms. Gentile’s request for reasonable accommodation was implemented after being

  informed of the layoff.

       114.    The promised follow-ups regarding the accommodation did not occur after the

  accommodation was implemented.

       115.    On 6/18/2019, in a meeting with K. Reed and J. Strecker, K. Reed confirmed to

  Ms. Gentile that her employment with CSU would end after StringSoft post-Go Live activities.

           a. K. Reed told Ms. Gentile that she would receive a formal letter in a couple weeks

               from CVMBS HR.

           b. She said that I should mention any reasons to stay past August in my response to

               the letter.

       116.    On 8/22/2019, Dr. Mark Stetter notified Ms. Gentile via certified mail that he

  would be recommending termination of my employment to President McConnell, CSU

  President at the time of his notice, with an effective date of October 11, 2019.

       117.    On 9/10/2019, Dr. Mark Stetter emailed Ms. Gentile that her employment with

  CSU would be terminated effective October 11, 2019.

       118.    As a direct result of Defendant’s actions, Plaintiff was diagnosed with PTSD

  [F43.10] on 11/06/2019.
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       119.   On 2/25/2019, J. Swaro emailed Ms. Gentile saying that she received the copy of

  medical certification for FML from Ms. Gentile’s health care provider.

       120.   On 03/01/2019 Plaintiff received an email from Jackie Swaro, CSU HR Benefits

  Administrator Team Lead, stating that FML was approved retroactively beginning Feb 21,

  2019.

           a. The FMLA Designation Notice approved Ms. Gentile’s FML for estimated

              frequency of flare-ups of 1 time per month, up to 14 days per episode, for up to

              480 hours for the year.

           b. The FMLA Designation Notice approved leave for symptoms related to Ms.

              Gentile’s ADA covered disability.

       121.   By failing to accommodate Ms. Gentile, CSU altered the terms and conditions of

  her employment.

       122.   As a result of CSU’s failure to accommodate Ms. Gentile, Ms. Gentile received a

  poor performance evaluation.

       123.   CSU performance evaluations remain in CSU employment files and potentially

  impact future salary and employment opportunities.

       124.   As a result of CSU’s failure to accommodate Ms. Gentile, CSU terminated Ms.

  Gentile’s employment.

       125.   CSU’s conduct described herein violated the antidiscrimination laws of the United

  States and constitutes prohibited discriminatory practices thereunder.

       126.   Defendant’s conduct and actions described herein was intentional, willful and/or

  done with malice and/or reckless disregard of Ms. Gentile’s protected rights under federal law.
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       127.    As a direct result of Defendant’s actions, Ms. Gentile has suffered significant

  injuries, damages, and losses to be determined at trial.
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       D. Statement of Claims
       Claim Two: ADA Retaliation, continued


       128.    Plaintiff hereby incorporates all paragraphs of this Complaint as though fully

       set forth herein.

       129.    The ADA prohibits retaliation.

       130.    Ms. Gentile’s depression and anxiety were qualifying disability under the ADA.

       131.    To prove retaliation, the plaintiff must show that: (1) she engaged in

       protected activity, (2) a reasonable employee would have found the challenged action

       materially adverse, and (3) there is a causal connection between the protected activity

       and the material adverse action.

       132.    Ms. Gentile engaged in protected activity including but not limited to

       requesting accommodation for her disability.

       133.    On 2/11/19, Plaintiff spoke with J. Swaro to ask questions about the short-term

  disability leave processes.

       134.    On 2/19/2019, Plaintiff told her supervisor, J. Strecker, that she was considering

  taking short-term disability leave at some point due to symptoms of her ADA disability and

  having difficulty performing in her job due to those symptoms.

       135.    Ms. Gentile told J. Strecker that she had a conversation with Jackie Swaro about

  the short-term disability process.
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       136.    Ms. Gentle said it wasn’t something she really wanted to do but given that she

  kept missing work and going through the vicious cycle she wasn’t sure.

       137.    Ms. Gentile said that she was dedicated to her job.

       138.    Ms. Gentile asked if she could work with J. Strecker to get him up to speed on her

  StringSoft project tasks in case she needed to take leave.

       139.    Ms. Gentile mentioned a church sermon she attended that validated the stigma of

  depression for her, such as being at work and you're not supposed to talk about it.

       140.    J. Strecker replied, “Like it’s moral weakness.”

       141.    I agreed and said it was systemic and that I had thought about writing a letter to

  CSU to take a look at that.

       142.    Ms. Gentile continued to tell J. Strecker that J. Mayhew opined for Ms. Gentile to

  not tell her project team about her disability - and that when you have the person that’s

  responsible for disability at CSU acknowledging that people could perceive it like you’re just

  trying to make excuses (for your disability), and you’re in a vulnerable position, then you just

  do what people tell you to do.

       143.    Ms. Gentile said she wondered how disability leave would look at your job, that

  you show you can’t perform, that you can't take it.

       144.    J. Strecker replied, “On some level, it’s already happened, right?”

       145.    CSU notified Ms. Gentile of intent to terminate her employment approximately

  one month after her FMLA Designation Notice approving episodes of 14 days per month of

  unscheduled leave for symptoms of her ADA covered disability.

       146.    Ms. Gentile’s salary was paid from CVBMS’ budget.
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       147.   Defendant discriminated against Ms. Gentile based on disability and protected

  medical leave needed for her disability, by attempting to move her into a different College.

       148.   In a meeting with K. Reed and J. Strecker on 6/18/2019, K. Reed encouraged Ms.

  Gentile to apply for one of four software developer positions that would be opening soon at

  Academic Computing and Network Services (“ACNS”).

           a. K. Reed said that she spoke with the Brandon Bernier (“B. Bernier”), the Director

              of ACNS, on Ms. Gentile’s behalf for the software developer positions, but that

              she did not use her name.

           b. K. Reed said that she told B. Bernier that I was very intelligent, pick up on things

              very quickly, and have a very good work ethic.

           c. K. Reed that she did not go into great detail about my performance but that ACNS

              might ask to see my performance evaluation.

           d. K. Reed said that she would not speak with B. Bernier about my disability

              accommodations.

           e. K. Reed said the ACNS software developer positions had not been posted but she

              guessed they would pay $70,000-80,000.

       149.   The ACSN software developer position that K. Reed encouraged Ms. Gentile to

  apply for would have been a demotion for Ms. Gentile because she was hired into a software

  development position at CSU 19 years prior and had since been promoted into management

  positions, and also because the salary was about 69% of Ms. Gentile’s current salary as Project

  Manager.

       150.   At the time of the 6/18/2019 meeting with Ms. Gentile, K. Reed had knowledge

  of a project management position elsewhere at CSU, with a proposed annual salary range of
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  $95,000 to $98,000 that was closer to Ms. Gentile’s current salary, yet she did not reach out to

  the hiring authority on Ms. Gentile’s behalf for that position.

       151.    On 3/29/2019, Ms. Gentile stated to K. Reed, J. Strecker, and J. Stocking that she

  was no longer qualified for software development.

       152.    CVMBS encouraged Ms. Gentile to apply for software development positions

  outside of their College to avoid paying salary of an employee who would potentially be

  absent on FML leave 14 days/month for symptoms of her ADA and FMLA covered disability.

       153.    CVMBS encouraged Ms. Gentile to apply for software development positions

  outside of their College because they did not have the confidence in her abilities to continue to

  perform the essential job functions of a Project Management position due to her disability.

       154.    CSU attempted to demote Ms. Gentile by encouraging her to apply for software

  developers positions on more than one occasion.

       155.    CSU notified Ms. Gentile of intent to terminate her employment approximately 5

  weeks after she told J. Strecker that she might have to take extended leave for symptoms of her

  ADA covered disability conditions.

       156.    CSU notified Ms. Gentile of their intent to terminate her employment

  approximately 6 weeks after she spoke with Jackie Swaro to ask questions about extended

  leave and short-term disability processes.

       157.    CSU is self-insured and bears the cost of short-term disability insurance pay to

  Administrative Professional Employees.

       158.    CSU believed that Ms. Gentile might soon apply for revised FMLA leave to cover

  an extended leave for medical conditions related to her ADA disability.
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       159.   By terminating Ms. Gentile before she sought an FMLA Designation for a longer

  contiguous absence than her current FMLA Designation, CSU would avoid having to provide

  Ms. Gentile with such FMLA leave.

       160.   By terminating Ms. Gentile before she sought an FMLA Designation for a longer

  contiguous absence, CSU would avoid having to pay short-term disability income to Ms.

  Gentile.

       161.   CSU terminated Ms. Gentile’s employment on 10/11/2019.

       162.   As a result of Ms. Gentile’s protected activity, CSU terminated Ms.

       Gentile’s employment.

       163.   CSU’s conduct described herein violated the antidiscrimination laws of

       the United States and constitutes prohibited discriminatory practices thereunder.

       164.   Defendant’s conduct and actions described herein was intentional, willful and/or

  done with malice and/or reckless disregard of Ms. Gentile’s protected rights under federal law.

       165.   As a direct result of CSU’s actions, Ms. Gentile has suffered significant

       injuries, damages, and losses to be determined at trial.
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       D. Statement of Claims
       Claim Three: ADA Discrimination, continued


       166.    Plaintiff hereby incorporates all paragraphs of this Complaint as though fully

       set forth herein.

       167.    Ms. Gentile’s depression and anxiety were qualifying disability under the ADA.

       168.    Ms. Gentile was qualified for her job.

       169.    Ms. Gentile successfully performed the essential functions of her job at CSU with

  reasonable accommodation.

       170.    Ms. Gentile requested FMLA medical leave to accommodate symptoms of her

  ADA covered disability.

       171.    Ms. Gentile received an FMLA Designation Notice approving unscheduled

  medical leave for symptoms related to her ADA disability for estimated frequency of flare-ups

  of 1 time per month, up to 14 days per episode, for up to 480 hours for the year.

       172.    Ms.Gentile’s FMLA Designation was episodic in nature and she was authorized

  to return to work between periods of flare-ups.

       173.    CSU discriminated against Ms. Gentile based on her disability and protected

  activity, perceived disability, and record of impairment, by terminating her employment.

       174.    CSU discriminated against Ms. Gentile based on her disability and protected

  activity, by terminating her employment.

       175.    CSU discriminated against Ms. Gentile based on her disability, perceived

  disability, and record of impairment, by attempting to place her in a demoted position.
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       176.    CSU discriminated against Ms. Gentile based on disability and protected activity,

  by attempting to place her in a demoted position.

       177.    Defendant discriminated against Ms. Gentile based on disability and protected

  activity, by attempting to move her into a different College.

       178.    Ms. Gentile’s disability was a motivating factor in CSU’s decision to terminate

  her employment.

       179.    CSU’s conduct described herein violated the antidiscrimination laws of

       the United States and constitutes prohibited discriminatory practices thereunder.

       180.    Defendant’s conduct and actions described herein was intentional, willful and/or

  done with malice and/or reckless disregard of Ms. Gentile’s protected rights under federal law.

       181.    As a direct result of CSU’s actions, Ms. Gentile has suffered significant

       injuries, damages, and losses to be determined at trial.
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       D. Statement of Claims
       Claim Four: FML Retaliation, continued


       182.       Plaintiff hereby incorporates all paragraphs of this Complaint as though fully set

  forth herein.

       183.       The FMLA prohibits an employer from discriminating or retaliating against an

  employee for having exercised or attempting to exercise FMLA rights.

       184.       To prove retaliation, a plaintiff must prove that: (1) she engaged in a protected

  activity; (2) the employer took an action that a reasonable employee would have found

  materially adverse; (3) there is a causal connection between the protected activity and the

  adverse action.

       185.       Ms. Gentile engaged in protected activity under the FMLA including but not

  limited to notifying Defendant of her serious medical condition; notifying Defendant of her

  need for time off work; notifying Defendant of her intent to take FMLA leave; and notifying

  Defendant of her intent to return.

       186.       Ms. Gentile’s FMLA Designation was episodic in nature and she was authorized

  and had intent to return to work between periods of medical flare-ups.

       187.       As a result of Ms. Gentile’s protected activity, CSU attempted to place her in a

  demoted job position as a software developer.

       188.       A reasonable employee would find CSU’s attempt to demote Ms. Gentile into a

  software development position to be materially adverse

       189.       As a result of Ms. Gentile’s protected activity, Defendant attempted to move her

  into a different College.
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       190.   Ms. Gentile worked in the College of CVMBS for over 19 years.

       191.   A reasonable employee would find CSU’s attempt to move Ms. Gentile into a

  different College to be materially adverse.

       192.   As a result of Ms. Gentile’s protected activity, CSU terminated Ms. Gentile’s

  employment.

       193.   A reasonable employee would find CSU’s termination of Ms. Gentile to be

  materially adverse.

       194.   In May 2019, Ms. Gentile filed an informal complaint against CSU via CSU

  OEO’s process.

           a. J. Mayhew was responsible for both OEO duties and complaints against CSU.

           b. Ms. Gentile asked Ms. Mayhew if there would be a conflict of interest.

           c. Ms. Mayhew said it would not be a conflict of interest.

           d. Ms. Mayhew said that the ‘HR Solutions’ department at CSU typically deals with

              FML so she would ask her supervisor, Diana Prieto, whether OEO or HR should

              handle the informal complaint given that both disability and FML were involved.

       195.   On 6/5/2019, Ms. Mayhew met with Ms. Gentile and talked about processes

  surrounding the informal complaint.

           a. Ms. Mayhew said she spoke with her supervisor, Diana Prieto about whether to

              have CSU HR or CSU OEO handle the informal complaint.

           b. Ms. Mayhew said she spoke with Diana and it was decided that J. Mayhew would

              handle the complaint rather than CSU HR Solutions.

           c. Ms. Mayhew said she was familiar with FML.
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       196.    Ms. Gentile included a remark about Ms. Mayhew in her informal complaint to

  CSU: “…I also mentioned to my supervisor that even OEO had the opinion that I should not

  tell my Project Team about my disability because it could sound like an excuse for my

  behavior.”

           a. Upon reading the informal complaint, Ms. Mayhew emailed Ms. Gentile on

               5/16/2019, saying, “This statement is inaccurate, and OEO must correct the

               record.”

           b. Ms. Gentile responded via email to Ms. Mayhew on 5/16/2019, saying, “I will not

               respond to the accuracy of our conversation at this time, as my limited

               understanding of the informal process suggests it is not relevant at this stage.

               However, my statement as written is accurate - this is the information I told my

               supervisor. I believe that me sharing such information with him is relevant to my

               complaint. "

           c. Ms. Mayhew demonstrated a conflict of interest in her email response of 5/16/19.

       197.    Defendant’s actions were related to Ms. Gentile’s exercise or attempted exercise

  of her FMLA rights.

       198.    Defendant’s conduct sand actions described herein was intentional, willful and/or

  done with malice and/or reckless disregard of Ms. Gentile’s protected rights under federal law.

       199.    As a direct result of CSU’s actions, Ms. Gentile has suffered significant

       injuries, damages, and losses to be determined at trial.
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       D. Statement of Claims
       Claim Five: FML Interference, continued


       200.       Plaintiff hereby incorporates all paragraphs of this Complaint as though fully set

  forth herein.

       201.       At the time of her request for medical leave, Ms. Gentile was an eligible

  employee under the Family and Medical Leave Act.

       202.       At the time of her request for medical leave, Ms. Gentile had been employed by

  CSU for over 19 years and had been employed by CSU for at least 1,250 hours during the

  preceding 12 months.

       203.       At the time of Ms. Gentile’s request for medical leave, CSU was a covered

  employer under the Family and Medical Leave Act.

       204.       At the time of Ms. Gentile’s request for medical leave, CSU had employed 500 or

  more employees for each working day during each of 20 or more calendar workweeks in the

  current or preceding calendar year.

       205.       Ms. Gentile was entitled to take up to 12 weeks of FMLA leave because her major

  depression and anxiety were serious medical conditions that interfered with her cognition and

  made her unable to perform her job duties.

       206.       Under the FMLA, it is unlawful for an employer to interfere with an employee

       exercising or attempting to exercise any right provided under the Act.

       207.       Upon the onset of her medical conditions, Ms. Gentile gave

       appropriate notice to Defendant of her need to be absent from work episodically.

       208.       Defendant was reasonably apprised of Ms. Gentile’s request to take time
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       off work for a serious medical condition.

       209.   Defendant interfered with Ms. Gentile’s rights under the FMLA by attempting to

  discourage Ms. Gentile from taking leave by encouraging her to move her into a different job

  in a different College, where she would then be put in a position of asking a new supervisor for

  leave of up to 14 days/month in a job that she had just begun.

       210.   Defendant interfered with Ms. Gentile’s rights under the FMLA by planning to

       terminate Ms. Gentile’s employment.

       211.   Defendant interfered with Ms. Gentile’s rights under the FMLA by terminating

  Ms. Gentile’s employment.

       212.   Defendant’s actions were related to Ms. Gentile’s exercise or attempted exercise

  of her FMLA rights.

       213.   Defendant’s conduct and actions described herein was intentional, willful and/or

  done with malice and/or reckless disregard of Ms. Gentile’s protected rights under federal law.

       214.   As a direct result of CSU’s actions, Ms. Gentile has suffered significant injuries,

  damages, and losses to be determined at trial.
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